              Case 2:16-cv-01655-RAJ Document 133 Filed 10/05/17 Page 1 of 7



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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8    KYLE LYDELL CANTY,

 9                                  Plaintiff,            Case No. C16-1655-RAJ-JPD

10           v.
                                                          ORDER RE: PLAINTIFF’S PENDING
11    CITY OF SEATTLE, et al.,                            MOTIONS

12                                  Defendants.

13

14          This is a civil rights action proceeding under 42 U.S.C. § 1983. This matter comes before

15   the Court at the present time on eight of plaintiff’s pending motions: (1) Motion to Suppress

16   Defendants [sic] Evidence of a Bench Trial Guilty Verdict Not Pertaining to Cause No. 16-1-

17   03103-6 SEA (Dkt. 79); (2) Motion and Notice of Policies and Procedures Pursuant to Civil

18   Comitment [sic] (Dkt. 80); (3) Emergency Motion Pursuant to Qualified Immunity Plaintiff’s

19   Response to All Defendants (Dkt. 82); (4) Motion Pursuant to Question of Law (Dkt. 85); (5)

20   Consolidated Notice and Motion Pursuant to Sixth Amend [sic] Rights Violations of U.S.

21   Const./Foul Play/Habeas Corpus/Excessive Force (Dkt. 86); (6) Emergency Motion Pursuant to

22   42 U.S.C. 1997d Prohibition of Retaliation (Dkt. 102); (7) Proposed Motion of Appointment of

23
     ORDER RE: PLAINTIFF’S PENDING
     MOTIONS - 1
              Case 2:16-cv-01655-RAJ Document 133 Filed 10/05/17 Page 2 of 7



 1   Counsel with Writ (Dkt. 103); and, (8) Motion Pursuant to “Access to the Law” Intentional

 2   Refusal on the Behalf of the Washington State Department of Corrections (Dkt. 104).

 3   Defendants have filed responses to the various motions addressed in this Order. (See Dkts 93,

 4   95, 106, 108 and 115.) The Court, having reviewed plaintiff’s motions, the responses thereto,

 5   and the balance of the record, hereby finds and ORDERS as follows:

 6          (1)     Plaintiff’s Motion to Suppress Defendants [sic] Evidence of a Bench Trial Guilty

 7   Verdict Not Pertaining to Cause No. 16-1-03103-6 SEA (Dkt. 79) is DENIED. Plaintiff asks that

 8   defendants be precluded from using as evidence in this action his recent conviction for assaulting

 9   two police officers. The instant motion was apparently prompted by the King County

10   defendants’ reference to that guilty verdict in its response to plaintiff’s motion for injunctive

11   relief. Plaintiff contends that his recent conviction is unrelated to the criminal case which gives

12   rise to the claims in this civil rights action, and that it is improper for defendants to rely on such

13   evidence in this matter.

14          Defendants argue that plaintiff’s request for an evidentiary ruling is premature, and that

15   plaintiff has cited no authority supporting the suppression of evidence of this type. Defendants

16   are correct. Plaintiff identifies nothing improper in the King County defendants’ reference to the

17   guilty finding in their response to plaintiff’s motion for injunctive relief. The Court declines to

18   speculate on whether such evidence might be admissible in another context during the course of

19   these proceedings.

20          (2)     Plaintiff’s Motion and Notice of Policies and Procedures Pursuant to Civil

21   Comitment [sic] (Dkt. 80), and his Emergency Motion Pursuant to Qualified Immunity

22   Plaintiff’s Response to All Defendants (Dkt. 82), are STRICKEN. These two motions appear to

23
     ORDER RE: PLAINTIFF’S PENDING
     MOTIONS - 2
              Case 2:16-cv-01655-RAJ Document 133 Filed 10/05/17 Page 3 of 7



 1   constitute yet another attempt by plaintiff to respond to the contents of the answers filed by

 2   defendants earlier in this action. (See Dkts. 60, 64.) However, as plaintiff was previously

 3   advised, a response to an answer to a civil complaint is not a proper pleading and is only

 4   permitted when specifically ordered by the Court. See Fed. R. Civ. P. 7(a)(7). The Court sees no

 5   need for such responses in this case. To the extent these motions might properly be construed as

 6   requests for summary judgment, the submissions are deficient because plaintiff fails to properly

 7   support any of the assertions of fact set forth therein. See Fed. R. Civ. P. 56(e). If plaintiff

 8   wishes to seek summary judgment on any of the claims asserted in his second amended

 9   complaint, he must submit a properly identified dispositive motion which fully complies with

10   Fed. R. Civ. P. 56, LCR 7(b)(1), and LCR 7(d)(3).

11          (3)     Plaintiff’s Motion Pursuant to Question of Law (Dkt. 85) is DENIED. The

12   purpose of the instant motion is not clear. Plaintiff makes reference to a default judgment he

13   claims to have filed against King County, but which was never received by the Court. He also

14   appears to take issue with the manner in which the King County defendants have characterized

15   the criminal charges which were dismissed in King County Superior Court and which gave rise

16   to this lawsuit. The relief plaintiff requests in this motion is that he be allowed to bring

17   defendants to justice and to proceed to trial, that all of his motions be granted, and that all future

18   motions be noted on the calendar for oral argument. Plaintiff has not established in his motion

19   any clear connection between his complaints about the King County defendants and the relief he

20   seeks. Moreover, the relief plaintiff appears to seek is entirely improper. Plaintiff is advised that

21   the question of whether he will be permitted to proceed to trial is premature, that he will be

22   granted relief only when the motions he submits demonstrate an entitlement to the requested

23
     ORDER RE: PLAINTIFF’S PENDING
     MOTIONS - 3
               Case 2:16-cv-01655-RAJ Document 133 Filed 10/05/17 Page 4 of 7



 1   relief, and that he will be bound by LCR 7(b)(4), as are all litigants in this Court, to indicate his

 2   desire for oral argument in the caption of each motion he submits for consideration.

 3           (4)    Plaintiff’s Consolidated Notice and Motion Pursuant to Sixth Amend [sic] Rights

 4   Violations of U.S. Const./Foul Play/Habeas Corpus/Excessive Force (Dkt. 86) is DENIED.

 5   Plaintiff identifies in the instant motion various complaints he has about his recently completed

 6   criminal proceedings in King County Superior Court. However, as plaintiff himself has noted in

 7   other submissions, the claims asserted in this action relate entirely to a previous prosecution on

 8   unrelated charges and have nothing at all to do with plaintiff’s recent conviction. The purpose of

 9   the instant motion is therefore unclear. Moreover, to the extent plaintiff seeks relief in the form

10   of admission into the Federal Witness Protection Program, he has requested relief beyond the

11   scope of what this Court can provide. And, to the extent plaintiff seeks release from the King

12   County Correctional Facility, his request is moot because he has already been transferred into the

13   custody of the Washington Department of Corrections.

14           (5)    Plaintiff’s Emergency Motion Pursuant to 42 U.S.C. 1997d Prohibition of

15   Retaliation (Dkt. 102) is STRICKEN. The instant motion consists of a single page containing

16   nothing but a caption. Plaintiff offers no argument, nor does he make any request for relief.

17   Plaintiff attached to his motion 240 pages of exhibits, all of which appear to relate to his most

18   recent criminal prosecution which, as noted above, is wholly unrelated to this action. The instant

19   motion utterly fails to comply with Fed. R. Civ. P. 7(b)(1), and, thus, the Court need not address

20   it further.

21           (6)    Plaintiff’s Proposed Motion of Appointment of Counsel with Writ (Dkt. 103) is

22   DENIED. There is no right to have counsel appointed in cases brought under 42 U.S.C. § 1983.

23
     ORDER RE: PLAINTIFF’S PENDING
     MOTIONS - 4
              Case 2:16-cv-01655-RAJ Document 133 Filed 10/05/17 Page 5 of 7



 1   Although the Court, under 28 U.S.C. § 1915(e)(1), can request counsel to represent a party

 2   proceeding in forma pauperis, the Court may do so only in exceptional circumstances. Wilborn

 3   v. Escalderon, 789 F.2d 1328, 1331 (9th Cir. 1986); Franklin v. Murphy, 745 F.2d 1221, 1236

 4   (9th Cir. 1984); Aldabe v. Aldabe, 616 F.2d 1089 (9th Cir. 1980). A finding of exceptional

 5   circumstances requires an evaluation of both the likelihood of success on the merits and the

 6   ability of the plaintiff to articulate his claims pro se in light of the complexity of the legal issues

 7   involved. Wilborn, 789 F.2d at 1331.

 8           Plaintiff argues in his motion that he should not be forced to proceed by himself in this

 9   action because he has never passed the Washington State Bar Exam. He also cites to difficulties

10   associated with litigating this action while confined in a state correctional facility and while

11   indigent. Lack of legal training and lack of financial resources do not constitute exceptional

12   circumstances sufficient to warrant appointment of counsel. In fact, these are circumstances

13   faced by the vast majority of pro se litigants.

14           A significant number of pro se litigants also file and litigate actions from within the

15   confines of correctional facilities. While this unquestionably presents challenges, it does not

16   establish an entitlement to court appointed counsel particularly where, as here, plaintiff has

17   clearly demonstrated an ability to articulate the legal and factual bases of his claims without the

18   assistance of counsel. Plaintiff contends that he has been denied any “access to the law” at his

19   current facility, but a review of the record suggests that plaintiff has been afforded some access

20   to the prison law library and/or to a legal computer, he simply deems that access insufficient.

21   (See Dkt. 104 at 3, 7.) Whether or not plaintiff is satisfied with the amount of legal access he has

22   thus far received, he makes no showing that the purportedly limited access has interfered with his

23
     ORDER RE: PLAINTIFF’S PENDING
     MOTIONS - 5
              Case 2:16-cv-01655-RAJ Document 133 Filed 10/05/17 Page 6 of 7



 1   ability to litigate this action. Should the limitations on plaintiff’s law library access at some

 2   point interfere with his ability to meet court imposed deadlines, plaintiff may request an

 3   extension of specific deadlines by filing a proper motion for relief.

 4          Finally, with respect to plaintiff’s likelihood of success on the merits of his claims, the

 5   record is not yet sufficiently developed for this Court to make such a determination. Based on

 6   the information available to the Court at this juncture, this Court must conclude that plaintiff has

 7   not demonstrated that his case involves exceptional circumstances which warrant the

 8   appointment of counsel.

 9          (7)     Plaintiff’s Motion Pursuant to “Access to the Law” Intentional Refusal on the

10   Behalf of the Washington State Department of Corrections (Dkt. 104) is DENIED. Plaintiff

11   asserts that he has been denied access to the law at his current facility, the Washington

12   Corrections Center (WCC), in violation of institutional policy and the United States Constitution.

13   He asks that a “writ” be issued granting him unlimited access to the law, law books, paper,

14   envelopes, and other legal supplies. However, the Washington Department of Corrections is not

15   a party to this law suit and the Court therefore has no authority to direct its actions. Thus, this

16   Court is unable to provide the relief plaintiff seeks by way of the instant motion.

17          The Court does note, however, that for purposes of litigating this action, plaintiff’s need

18   for legal supplies should be relatively limited as he is subject to the mandatory e-filing

19   requirements applicable to all inmates in the custody of the Department of Corrections and, thus,

20   he should need access only to paper and a writing implement. The sheer volume of plaintiff’s

21   submissions to date, many of which have questionable relevance to the claims he seeks to litigate

22   in this action, belie any assertion that he lacks access to these basic resources. Moreover, it

23
     ORDER RE: PLAINTIFF’S PENDING
     MOTIONS - 6
              Case 2:16-cv-01655-RAJ Document 133 Filed 10/05/17 Page 7 of 7



 1   appears that plaintiff has been granted some access to the prison law library and/or a legal

 2   computer, albeit not as much as he would prefer. As noted above, if plaintiff finds himself

 3   unable to meet Court imposed deadlines because of limitations on his access to legal materials,

 4   the Court can adjust such deadlines upon submission of an appropriate request for relief which

 5   includes a showing of good cause.

 6          (8)     The Clerk is directed to send copies of this Order to plaintiff, to counsel for

 7   defendants, and to the Honorable Richard A. Jones.

 8          DATED this 5th day of October, 2017.

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                                                   A
                                                   JAMES P. DONOHUE
11                                                 Chief United States Magistrate Judge

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     ORDER RE: PLAINTIFF’S PENDING
     MOTIONS - 7
